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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

PHILLIP SMITH,                                   § No. 4:14-cv-2021
                                                 §
  Plaintiff,                                     §
                                                 §
  v.                                             §
                                                 §
GC SERVICES, LP,                                 §
                                                 §
  Defendant.                                     §
                                                 §

                                  PLAINTIFF’S COMPLAINT

       Plaintiff, PHILLIP SMITH (Plaintiff), through his attorneys, KROHN & MOSS, LTD.,

alleges the following against Defendant, GC SERVICES, LP. (Defendant):

                                         INTRODUCTION

   1. Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15

       U.S.C. 1692 et seq. (FDCPA).

                                JURISDICTION AND VENUE

   2. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

       actions may be brought and heard before “any appropriate United States district court

       without regard to the amount in controversy.”

   3. Defendant conducts business in the District of Columbia, and therefore, personal

       jurisdiction is established.

   4. Venue is proper pursuant to 28 U.S.C. 1391(b)(2), “a judicial district in which a substantial

       part of the events or omissions giving rise to the claim occurred…”




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                                         PARTIES

5. Plaintiff is a natural person residing in Washington, District of Columbia.

6. Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3), and according to

   Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5).

7. Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6), and sought to

   collect a consumer debt from Plaintiff.

8. Defendant is a collection agency with a business office in Houston, Texas.

9. Defendant acted through its agents, employees, officers, members, directors, heirs,

   successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                              FACTUAL ALLEGATIONS

10. Defendant places collection calls to Plaintiff in an attempt to collect an alleged debt.

11. Plaintiff’s alleged debt owed arises from transactions for personal, family, and household

   purposes.

12. On or around October 14, 2013, Defendant placed a collection call to Plaintiff’s telephone

   number (202) 213-62XX and left a voicemail message.

13. In the voicemail message on or around October 14, 2013, Defendant’s representative failed

   to state the name of the company placing the call, failed to state that the call was from a debt

   collector, and failed to state that the call was being placed to collect an alleged debt. See

   Transcribed Voicemail Message attached hereto as Exhibit “A.”

14. In the voicemail message on or around October 14, 2013, Defendant’s representative

   directed Plaintiff to return the call to (314) 851-4310, extension 3007, a number belonging

   to Defendant. See Exhibit A.

15. Defendant is using false, deceptive and misleading means in connection with attempting to
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      collect a debt by not identifying the purpose of its phone calls or that they are an attempt to

      collect a debt.

                             COUNT I
    DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

   16. Defendant violated the FDCPA based on the following:

          a. Defendant violated §1692d of the FDCPA by engaging in conduct the natural

              consequence of which is to harass, oppress, or abuse Plaintiff,

          b. Defendant violated §1692d(6) of the FDCPA by placing telephone calls without

              meaningful disclosure of the caller’s identity.

          c. Defendant violated §1692e of the FDCPA by using false, deceptive, and misleading

              representations in connection with the collection of any debt.

          d. Defendant violated §1692e(10) of the FDCPA by using deceptive means in an

              attempt to collect a debt.

          e. Defendant violated §1692e(11) of the FDCPA by failing to disclose in its

              communications with Plaintiff that the communication was from a debt collector.

      WHEREFORE, Plaintiff, PHILLIP SMITH, respectfully requests judgment be entered

against Defendant, GC SERVICES, LP., for the following:

   17. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15

      U.S.C. 1692k,

   18. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act, 15

      U.S.C. 1692k, and

   19. Any other relief that this Honorable Court deems appropriate.




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                                      RESPECTFULLY SUBMITTED,

Dated: July 15, 2014              By:/s/ Ryan S. Lee
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